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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA

THOMAS H. HUDSON                                 *
                                                 *
                      PLAINTIFF                  *
VS.                                              *   CIVIL ACTION NO. 16-823-JWD-RLB
                                                 *
                                                 *
BAYVIEW LOAN SERVICING, LLC,                     *
EQUIFAX INFORMATION SERVICES,                    *
L.L.C. AND EXPERIAN INFORMATION                  *
SOLUTIONS, INC.                                  *
                 DEFENDANTS                      *

                                 NOTICE OF SETTLEMENT

       NOW INTO COURT, through undersigned counsel, comes Thomas H. Hudson, plaintiff

herein, who notifies the court that he has settled his claims against defendant Bayview Loan

Servicing, LLC , and requests the court enter a conditional dismissal of his claims.

                                                     DONOHUE, PATRICK & SCOTT
                                                     A Professional Limited Liability Company

/s/ Garth J. Ridge                                   /s/ Kirk A. Patrick, III
GARTH J. RIDGE                                       Kirk A. Patrick, III (19728)
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                                 CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on the 22nd day of December, 2017, I electronically filed the
foregoing with the Clerk of court by using the CM/ECF system which will send a notice of electronic
filing to all counsel of record.


                                                     s/Garth J. Ridge
                                                     GARTH J. RIDGE
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